Appellate Case: 23-3102       Document: 010110936474            Date Filed: 10/13/2023    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                       October 13, 2023


  Mr. Michael K. Seck
  Fisher, Patterson, Sayler & Smith
  Corporate Woods, Building 51
  9393 West 110th Street, Suite 300
  Overland Park, KS 66210

  RE:       23-3102, Banks v. Sprint/Nextel Wireless Telephone Company, et al
            Dist/Ag docket: 5:15-CV-03093-HLT

 Dear Counsel:

 Appellee Timothy Brown’s brief is deficient because:

 There are no copies of pertinent written findings, conclusions, opinions or orders, nor
 transcripts of oral findings, conclusions, opinions or orders attached to the brief. Appellee
 must attach the order(s) appealed to the response brief is appellant fails to do so. See 10th
 Cir. R. 28.2(B) and 10th Cir. R. 30.1(F). The attachment(s) to the brief must be clearly
 identified (i.e., "Attachment 1: District Court Judgment Filed mm/dd/yyyy"). See 10th
 Cir. R. 28.2(C)(5).

 There is no certificate of counsel stating the need for separate briefs. See 10th Cir. R.
 31.3(B).

 You must file a corrected brief within three days of the date of this letter. Do not file
 paper copies of your brief until the court has received your corrected brief and has issued
 notice it is compliant.

 The corrected brief must have an updated certificate of service.
Appellate Case: 23-3102     Document: 010110936474        Date Filed: 10/13/2023   Page: 2
 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Albert Dewayne Banks
           Jay E. Heidrick
           Shon D. Qualseth
           Matthew Shoger
           Eric V. Turner



  CMW/sls
